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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________________

DALE and JENNIFER HARRIS, as Parents
of RNH,1
      Plaintiffs,
                                                                         Civil Action No.:
v.
                                                                        1:24-CV-12437-WGY
MARGARET ADAMS, KATHRYN ROBERTS,
RICHARD SWANSON, NICOLE NOSEK, SUSAN PETRIE,
ANDREW HOEY, KAREN SHAW, JOHN BUCKEY, and
TOWN OF HINGHAM SCHOOL COMMITTEE
      Defendants.
__________________________________________________

                PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

          Now Come the Plaintiffs, pursuant to Rule 65 Fed. R. Civ. P. and move this Honorable

Court to issue a preliminary injunction forthwith.       To obtain preliminary injunctive relief, the

Plaintiffs must satisfy a fourfold inquiry: "A plaintiff seeking a preliminary injunction must

establish that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the

absence of preliminary relief, that the balance of equities tips in his favor, and that an injunction

is in the public interest." See Together Emps. v. Mass Gen. Brigham Inc., 32 F. 4th 82, 85-86

(2022) (1st Cir.) citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 129 S. Ct. 365, 172

L. Ed. 2d 249 (2008); see also See Packaging Industries Group v. Cheney, 380 Mass. 609, 617

(1980).

          This case is believed to be one of first impression regarding arbitrary and capricious

discipline imposed and the fallout from that discipline following the Plaintiff Student’s use of

artificial intelligence on a school project, including arbitrary grading and culminating in the non-



1
    RNH is a minor. See Fed. R. Civ.P. 5.2
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selection of the Plaintiff Student from National Honor Society because of this alleged academic

integrity violation that was not previously proscribed or even addressed by the Student Handbook.

       At the time, the Hingham High School Student Handbook (the “Handbook”) did not

proscribe the use of artificial intelligence, nor did the Handbook have any established rules,

policies or procedures for not only the use of artificial intelligence, but what any administrators,

faculty or students should do when encountering its use.

       During the investigation, the Plaintiffs learned, for the first time, that the Defendants

previously inducted seven students, including one who had previously used artificial intelligence,

into the National Honor Society, despite records of academic integrity infractions. The preliminary

injunction record will show the Plaintiffs are likely to succeed on the merits due to a palpable

pattern of arbitrary and capricious decision making, differential and biased treatment, threats,

intimidation and coercion.

       The Plaintiff Student will suffer irreparable harm that far outweighs any harm that may

befall the Defendants. He is applying to elite colleges and universities given his high level of

academic and personal achievement. Early decision and early action applications in a highly

competitive admissions process are imminent and start in earnest on October 1, 2024. Absent the

grant of an injunction by this Court, the Student will suffer irreparable harm that is imminent. The

balancing of this harm against any harm that may befall the Defendants heavily favors the

Plaintiffs. Moreover, based on the facts in this record and the substantial questions regarding the

integrity of the imposition of discipline and severe academic sanctions not based on written,

established and known policies cuts in favor of serving the wider public interest by the grant of

the injunction.




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       WHEREFORE, for the foregoing reasons, the Plaintiffs respectfully request the Court issue

a preliminary injunction and that the injunction specifically state and order the following relief:

   A) To enter an immediate order enjoining and ordering the Defendants to immediately repair,

       restore and rectify Plaintiff Student’s letter grade in Social Studies to a grade of “B” and

       that the Court order the expungement of any grade, report, transcript entry or record of

       discipline imposing any kind of academic sanction as set forth in the Verified Complaint.

   B) To enter an immediate order enjoining and ordering the Defendants to cease and desist

       from characterizing the use of artificial intelligence by the Plaintiff Student as “cheating”

       or classifying such use as an “academic integrity infraction” or “academic dishonesty” as

       the Student Handbook in effect at the time did not include any prohibition of the use of AI

       for anyone nor did the Student Handbook put the Plaintiff Student on notice of any

       expectations regarding the use of AI or consequences of discipline under the Code of

       Conduct that was silent on the use of artificial intelligence.

   C) To enter an order enjoining and ordering the Defendants to exclude any zero grade from

       grade calculations for the subject assignment and to amend and change any student records

       detrimental to the Plaintiff Student arising from this incident including but not limited to

       grade books, on-line grading programs such as Aspen or other like programs, transcripts,

       permanent school records and the like.

   D) To enter an order enjoining an ordering the Defendants to cease and desist from continuing

       to bar the Plaintiff Student from being inducted into the National Honor Society and that

       he be retroactively appointed and inducted immediately and without further delay.

   E) To enter an order enjoining and ordering the Defendants from continuing to withhold the

       information requested by the Plaintiffs in the demand letter dated May 22, 2024; and



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   F) To enjoin and order the Defendants to undergo training in the use and implementation of

       artificial intelligence in the classroom, schools and educational environment by a duly

       qualified third party not employed by the District; and

   G) To enter an order that provides other equitable and injunctive relief that is just and proper.


                                  REQUEST FOR HEARING

                        The Plaintiffs request oral argument on this motion.


                                      Respectfully submitted,

                                      DALE and JENNIFER HARRIS, as Parents
                                      of RNH,

                                      By their attorneys,

                                      FARRELL LAVIN, PLLC


                                      _____________________________________
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                                 CERTIFICATE OF SERVICE

        I, Peter S. Farrell, hereby certify that I served a copy of the foregoing on all counsel of
record pursuant to Local Rule 5.4(c) by causing a copy of the same to be electronically filed and
served through the CM/ECF filing system to:

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gnotis@morrisonmahoney.com



                                              ______________________________
                                              Peter S. Farrell




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